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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :   Case No. 1:21-cr-225 (DLF)
        v.                                       :
                                                 :
TRENISS JEWELL EVANS III,                        :
                                                 :
                 Defendant.                      :

                     GOVERNMENT’S SENTENCING MEMORANDUM

        The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Treniss Jewell Evans III to 60 days of incarceration, one year of supervised release,

60 hours of community service, and restitution in the amount of $500.

   I.         Introduction

        Treniss Jewell Evans III, a resident of Canyon Lake, Texas, participated in the January 6,

2021 attack on the United States Capitol, a violent attack that forced an interruption of the

certification of the 2020 Electoral College vote count, threatened the peaceful transfer of power

after the 2020 Presidential election, injured more than one hundred law enforcement officers, and

resulted in more than $2.7 million in losses.1

        On March 10, 2022, Evans pleaded guilty to one count of 18 U.S.C. § 1752(a)(1): Entering

and Remaining in a Restricted Building or Grounds. As explained herein, a sentence of 60 days



        1
               As of April 5, 2022, the approximate losses suffered as a result of the siege at the
United States Capitol was $2,734,783. That amount reflects, among other things, damage to the
Capitol building and grounds and certain costs borne by the United States Capitol Police.


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of imprisonment, with supervised release to follow, is appropriate in this case because: (1) Evans

traveled to Washington, D.C. in early January 2021 with knowledge that violent groups, including

the Proud Boys, would participate in the protest and, indeed, with plans to meet up with members

of the Proud Boys in Washington, D.C.; (2) Evans entered (and later exited) the Capitol building

by stepping through broken windows, which had been smashed open by other rioters; (3) once

inside, Evans turned back to face the broken window where other rioters were visible outside,

raised a megaphone, and declared, “Bring ‘em in”; (4) after entering the Capitol building, Evans

walked by a line of U.S. Capitol Police officers who were blocking off a corridor, many of them

in riot helmets with clear plastic face shields; (5) inside the Capitol, Evans entered a Congressional

conference room, which he believed to be Speaker Nancy Pelosi’s, and had someone record a

video of him drinking a shot of whiskey; (6) since January 2021 and through the present, Evans

has made statements on social media demonstrating a lack of genuine remorse and has raised

money off his participation in the January 6 attack; and (7) Evans has glorified political violence

on social media, including by saying in February 2022 that he “love[d]” a post threatening to “stack

bodies” if members of the “deep state” did not “surrender.”

       The Court must also consider that Evans’s conduct on January 6, like the conduct of scores

of other defendants, took place in the context of a large and violent riot that relied on numbers to

overwhelm law enforcement, breach the Capitol, and disrupt the proceedings. But for his actions

alongside so many others, the riot likely would have failed. See United States v. Matthew

Mazzocco, 1:21-cr-54 (TSC), Tr. 10/4/2021 at 25 (“A mob isn’t a mob without the numbers. The

people who were committing those violent acts did so because they had the safety of numbers.”)

(statement of Judge Chutkan). Evans’s participation in a riot that actually succeeded in halting the

Congressional certification – combined with his attempt to join a violent group, his celebration



                                                      2
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and endorsement of the forcible takeover of Congress on that day, his lack of remorse, and the

potential for involvement in violent protests in the future – renders a significant jail sentence both

necessary and appropriate in this case.

   II.        Factual and Procedural Background

                             The January 6, 2021 Attack on the Capitol

         To avoid repetition, the government refers to the general summary of the attack on the U.S.

Capitol set forth in Evans’s plea agreement. See ECF 33 (Statement of Offense), at 1-3. As this

Court knows, a riot cannot occur without rioters, and each rioter’s actions – from the most mundane

to the most violent – contributed, directly and indirectly, to the violence and destruction of that

day. With that backdrop, we turn to Evans’s conduct on January 6.

                 Treniss Evans’s Role in the January 6, 2021 Attack on the Capitol

         In mid-December 2020, Treniss Evans traveled to Washington, D.C. to protest the outcome

of the 2020 Presidential election. On December 12, 2020, while in Washington, D.C., Evans

emailed an address associated with a Texas chapter of the Proud Boys, asking to join the action:

“I want in and I am in Washington DC staying at the Marriott at Freedom Plaza.”2 In an email to

another individual associated with the Texas Proud Boys, Evans wrote, “I want in, how do we fight

commies and liberals?.”3 That day, and especially the following night, members of the Proud Boys

were involved in multiple violent confrontations in downtown Washington, D.C.4 The next day,

Evans redoubled his efforts to join the group. In a follow-up email to a Proud Boys contact, Evans

boasted that the had been “with [the] Chicago and Philly chapter mostly last night [December 12,



         2
               Gov’t Ex. 1.
         3
               Gov’t Ex. 2.
        4
               See, e.g., NPR, 4 Stabbed, 33 Arrested After Trump Supporters, Counterprotesters
Clash In D.C. (Dec 13, 2020), https://www.npr.org/2020/12/12/945825924/trump-supporters-
arrive-in-washington-once-again-for-a-million-maga-march (last visited May 14, 2022).
                                                      3
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2020] as well as others in the thick of this all night until 2:30 am.”5 Evans also bragged: “I got me

some! Chicago PB [Proud Boy] Paul and another PB were in the thick of it with me twice. … I

drove from Texas to help, I am now driving to Georgia to get with the PB Chapter there and

support.”6 A few days later, despite having been told that the Proud Boys were not accepting new

members at the time, Evans told the same representative, “I will be back in DC 4th-7th or 8th. …

I understand your position on new members[.] … I look forward to meeting you guys.”7 By then,

Evans had also separately offered another member of the Proud Boys – this one located in the

Atlanta, Georgia area – to “outfit one of your righteous men who need gear.”8 Evans also reiterated

that, days earlier, he “was in the streets of DC with Philly, Chicago and El Paso members getting

some.”9

       In late December 2020 and early January 2021, Evans began arrangements for his

upcoming trip to Washington, D.C., where he planned to attend the “Stop the Steal” rally as well

as a Second Amendment demonstration. On or about January 4 and 5, 2021, Evans drove from

Canyon Lake, Texas to Washington, D.C. Along the way, he stopped in Georgia to pick up a

friend, who accompanied him for the rest of the drive.

       On the morning of January 6, 2021, Evans attended the “Stop the Steal” rally, at which the

President spoke. As the rally was concluding, Evans headed toward his hotel in Freedom Plaza

and then toward the U.S. Capitol building with other protestors. He was wearing a bright yellow

knit cap, olive green jacket, blue jeans, and a camouflage backpack. He also carried a blue

megaphone.



       5
               Gov’t Ex. 2.
       6
               Id.
       7
               Gov’t Ex. 3.
       8
               Gov’t Ex. 4.
       9
               Id.
                                                     4
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       At approximately 3:00 p.m., Evans entered the Senate Wing of the Capitol building by

stepping through a broken window beside the breached Senate Wing Doors. The glass panes of

the window had been smashed open by other rioters about 47 minutes before the defendant entered,

and broken glass or other debris was visible on the inside sill of the window. Inside and

immediately to the left of the broken window through which Evans entered, a line of Capitol Police

officers stood, blocking off one direction of the corridor. The police officers were wearing full

uniforms, to include marked helmets or caps, with police badges, duty belts, and official insignia

clearly displayed. Many of the police officers were wearing riot helmets with clear plastic face

shields down. A high-pitched, continuous alarm could be heard.10




       10
               Gov’t Ex. 5 (at 9:45 – 10:00, on file with the Court); Gov’t Ex. 6 (3:00:55 p.m. –
3:02:20 p.m., on file with the Court).
                                                    5
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Figures 1 and 2: Evans entering the Capitol building through a broken window and facing a line
of Capitol Police officers

       Once inside, Evans turned back to face the broken window where other rioters were visible

outside. Evans then raised his megaphone to his mouth and stated, “Bring ‘em in.”11




       11
                Gov’t Ex. 5 (at 10:00 – 10:15); Gov’t Ex. 6 (3:01:15 p.m. – 3:01:25 p.m.).
                                                    6
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Figures 3 and 4: Evans using a megaphone to encourage other rioters to enter the Capitol
building

       Evans then marched through a corridor toward the Crypt of the Capitol. Along the way,

he used his megaphone to address other rioters, stating, “We want justice,” as well as “Back the

blue.” Evans also led other rioters in the Pledge of Allegiance and the Star Spangled Banner. At

approximately 3:11, Evans used his megaphone to address other rioters inside the Crypt.12 In a

video he recorded on his cell phone, Evans can be heard declaring: “Remember: do not break, do

not damage, do not harm. We are in a peaceful protest. We are executing our constitutional duty

when we have been cheated from a stolen election.”13 Moments later, a Capitol Police officer

asked Evans: “What time do you think we can get some people out [inaudible]?”14 Evans – who

only minutes earlier had incited others to break into the Capitol building – responded, “There is




       12
                Gov’t Ex. 7 (3:11:15 p.m. – 3:11:25 p.m.).
       13
                Gov’t Ex. 8 (on file with the Court).
       14
                Id.
                                                    7
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more coming.”15 Then, after telling the officer “we’re not here to hurt you,” Evans continued:

“You see what’s happened, this has finally happened.”16




 Figure 5: Evans addressing other rioters in the Crypt of the Capitol building with a megaphone

       Evans then walked back toward the Senate Wing Doors, but did not head for the exit. He

took a detour to enter a Congressional conference room, which other rioters told him belonged to

Speaker Pelosi. While in that room, Evans again used his megaphone to address other rioters. He

then climbed on the inside sill of a window, looked out to the mob assembled outside – which was

facing a line of officers – and gestured triumphantly in the mob’s direction.17




       15
                Id.
       16
                Id.
       17
                Gov’t Ex. 5 (at 21:20 to 21: 50).
                                                     8
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Figure 6: Evans standing on a window sill in a Congressional conference room and gesturing
triumphantly to the mob outside

While in the room, Evans also recorded a video of himself. Looking into the camera, Evans asked,

“Hey, how many of you have been in Nancy Pelosi’s office before? I like it. I think I want to

hang out.”18 He then proceeded to drink a gulp of Jack Daniels whiskey from another rioter’s

bottle.19 Moments later, he had another rioter record him as he took a celebratory shot of Fireball

whiskey that Evans had apparently brought with him.20




       18
                Gov’t Ex. 9 (on file with the Court).
       19
                Id.
       20
                Id.
                                                        9
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     Figures 7 and 8: Evans drinking shots of whiskey in a Congressional conference room

       Evans exited the Capitol building after approximately 16 minutes, again through a broken

window beside the Senate Wing Doors.21 As noted, at various points during his time inside the

Capitol building, Evans used his cell phone to record video footage of himself and of the events

that were occurring.

       Outside the Capitol building, Evans again used his megaphone to address other rioters. At

one point, he read out former President Trump’s statement on Twitter attacking then-Vice

President Pence: “Mike Pence didn’t have the courage to do what should have been done to protect

our Country and our Constitution, giving States a chance to certify a corrected set of facts, not the

fraudulent or inaccurate ones which they were asked to previously certify. USA demands the




       21
               Gov’t Ex. 10 (3:15:16 p.m. – 3:16:00 p.m., on file with the Court).
                                                     10
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truth!” He also stated: “I don’t support looting, I don’t support violence, I support a peaceful

protest to put them on notice that we the people demand justice.”22

                                         Social Media Posts

       Since the attack on the Capitol, Evans has used GETTR, a social media platform, to spread

false information about the January 6 attack through public postings, including claims that most

rioters entered the Capitol largely because police “were not even telling them not to” and were not

“attempting to stop them”; to downplay his own culpability by attacking law enforcement; to

fundraise from his participation in the January 6 attack; and to glorify the use of political violence.

A selection of Evans’s statements on GETTR is illustrative:

       On October 17, 2021, Evans claimed in a public posting, “I am pretty sure most January

6th protestors were protestors who made bad decisions to trespass in the Capitol largely because

police were not even telling them not to much less attempting to stop them”;23

       On November 28, 2021, Evans posted a link to his crowd-funding page, stating: “YES I

WAS AT THE CAPITOL JANUARY 6TH. I need your help to continue to speak publicly”;24

       On December 27, 2021, Evans posted, “Fraud Biden’s days are numbered in 2022. The

audits truths will deliver arriving day by day. The red wave of justice will swallow the evi [sic]

cloaked in blue. Those in congress absolved those who said ney. Wee little rats who stole will

dodge scurry and run as they do. Soon caught in the scale of justice like traps and squeal. …

Patriot Prophet 12-27-21”;25




       22
               https://www.youtube.com/watch?v=j0slfwAXc2k (at 12:30 – 13:12).
       23
               Gov’t Ex. 11.
       24
               Gov’t Ex. 12.
       25
               Gov’t Ex. 13.
                                                      11
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       On December 31, 2021, Evans reposted the following image, originally posted by another

user, with the comment: “I feel this coming. I hope it is done peacefully”:26




       26
               Gov’t Ex. 14.
       .
                                                   12
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       On January 3, 2022, Evans again used his participation in the January 6 attack to raise

funds (“January 6th Political Speaker and defendant!”), posting a link to his crowd-funding page;27

       On January 6, 2022, Evans posted: “Today makes one year since my protest inside The

United States Capitol. … The fateful day where lives of Patriots were needlessly lost in defense

of our sacred elections. Those inside the building were fearful and many in defense of the Capitol

were injured. The sick, evil, and duplicitous government has subverted the blame and remorse

they should share. The ruling class placed all blamed on the heads of those who protested their

dereliction of duty and failure to represent their citizens”;28

       On January 26, 2022, Evans posted about the “cowards in the alphabet agencies” who “do

nothing as Americans are being persecuted and destroyed”; he tagged the post with hashtag

#j6politicalprisoners;29

       On February 13, 2022, Evans posted, “I am January 6th and now a victim of a two tier

justice system run by terrorists!”;30

       On February 25, 2022, Evans reposted a picture, originally posted by another user, that

threatened the “DEEP STATE” with violence, adding: “I LOVE THIS! THE TIME FOR THE

RIGHTS OF WE THE PEOPLE IS COMING”:31




       27
               Gov’t Ex. 15.
       28
               Gov’t Ex. 16.
       29
               Gov’t Ex. 17.
       30
               Gov’t Ex. 18.
       31
               Gov’t Ex. 19.
                                                      13
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       On March 10, 2022, the same day on which Evans pleaded guilty in this case, he declared

in a post: “We The People-CITIZENS are now the greatest victims of lawfare (this is called

tyranny) this Country has ever witnessed. Welcome to the Tyrannical States of America”;32

       On March 14, 2022, Evans again impugned the legitimacy of the 2020 Presidential election

(and, thus, of Congress’ certification on January 6, 2021): “The commies should have never been

allowed into the Whitehouse and should have been dealt with as the treasonous coup they are for

STEALING your ELECTIONS. Nothing they have done is either legitimate or Constitutional”;33




       32
              Gov’t Ex. 20.
       33
              Gov’t Ex. 21.
                                                 14
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          On March 20, 2022, Evans posted, “January 6th Defendants are among those

WRONGFULLY SHAMED!”34

          In addition, Evans has repeatedly used his participation in the January 6 attack to promote

traffic to his website (www.condemnedusa.com) and increase viewership of his January 6-related

media interviews.35

                                     The Charges and Plea Agreement

          On February 24, 2021, Evans was charged by complaint with violating 18 U.S.C.

§§ 1512(c)(2), 1752(a)(1), and 1752(a)(2), and 40 U.S.C. §§ 5104(e)(2)(D) and (G). On March 4,

he was arrested at his home in Texas. On March 17, 2021, the grand jury charged Evans with the

five offenses identified in the complaint. On April 19, 2021, Evans voluntarily agreed to be

interviewed, and was interviewed, by the FBI about his participation in the January 6, 2021 attack.

On March 10, 2022, Evans pleaded guilty to Count Two of the Indictment, which charged him

with violating 18 U.S.C. § 1752(a)(1): Entering and Remaining in a Restricted Building or

Grounds. By plea agreement, Evans agreed to pay $500 in restitution to the Architect of the

Capitol.

   III.        Statutory Penalties

          Evans now faces a sentencing on one count of violating 18 U.S.C. § 1752(a)(1). As noted

in the plea agreement and the U.S. Probation Office, the defendant faces up to one year of

imprisonment and a fine of up to $100,000. He must also pay restitution under the terms of his




          34
                Gov’t Ex. 22.
          35
                See, e.g., Real America’s Voice, Is the FBI Trying to Punish Jan 6th Protestors
Outside the Courts?, https://americasvoice.news/is-the-fbi-trying-to-punish-jan-6th-protestors-
outside-the-courts/ (last visited May 14, 2022); Real America’s Voice, Jan 6th Protestor Recounts
the Shock of Charges, https://americasvoice.news/jan-6th-protestor-recounts-the-shock-of-
charges/ (last visited May 14, 2022).
                                                      15
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plea agreement. See 18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-

1079 (D.C. Cir. 2008).

   IV.      The Sentencing Guidelines and Guidelines Analysis

         The Supreme Court has instructed that district courts “should begin all sentencing

proceedings by correctly calculating the applicable Guidelines range.” United States v. Gall, 552

U.S. 38, 49 (2007). “As a matter of administration and to secure nationwide consistency, the

Guidelines should be the starting point and the initial benchmark” for determining a defendant’s

sentence. Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are

“the product of careful study based on extensive empirical evidence derived from the review of

thousands of individual sentencing decisions” and are the “starting point and the initial

benchmark” for sentencing. Id. at 49.

         The government agrees with the Sentencing Guidelines calculation set forth in the PSR.

According to the PSR, the U.S. Probation Office calculated Cordon’s adjusted offense level under

the Sentencing Guidelines as follows:

         Base Offense Level (U.S.S.G. § 2B2.3(a))                                    4
         Specific Offense Characteristics (U.S.S.G. § 2B2.3(b)(1)(A))                2
         Acceptance of Responsibility (USSG § 3E1.1(a))                             -2
         Total Adjusted Offense Level                                                4

See PSR at ¶¶ 31-40.

         The U.S. Probation Office calculated Evans’s criminal history as a category I, which is not

disputed. PSR at ¶ 43. Accordingly, the U.S. Probation Office calculated Evans’s total adjusted

offense level, after acceptance, at 4, and his corresponding Guidelines imprisonment range at 0-6

months. PSR at ¶ 76. Evans’s plea agreement contains an agreed-upon Guidelines calculation

that mirrors the U.S. Probation Office’s calculation.




                                                     16
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       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita, 551 U.S.

at 349. As required by Congress, the Commission has “‘modif[ied] and adjust[ed] past practice in

the interests of greater rationality, avoiding inconsistency, complying with congressional

instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007); 28 U.S.C.

§ 994(m). In so doing, the Commission “has the capacity courts lack to ‘base its determinations

on empirical data and national experience, guided by professional staff with appropriate

expertise,’” and “to formulate and constantly refine national sentencing standards.” Kimbrough,

552 U.S. at 108. Accordingly, courts must give “respectful consideration to the Guidelines.” Id.

at 101. As the Third Circuit has stressed:

               The Sentencing Guidelines are based on the United States
               Sentencing Commission’s in-depth research into prior sentences,
               presentence investigations, probation and parole office statistics,
               and other data. U.S.S.G. §1A1.1, intro, comment 3. More
               importantly, the Guidelines reflect Congress’s determination of
               potential punishments, as set forth in statutes, and Congress’s
               on-going approval of Guidelines sentencing, through oversight of
               the Guidelines revision process. See 28 U.S.C. § 994(p) (providing
               for Congressional oversight of amendments to the Guidelines).
               Because the Guidelines reflect the collected wisdom of various
               institutions, they deserve careful consideration in each case.
               Because they have been produced at Congress's direction, they
               cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement), and that significantly increases the likelihood that the sentence is a reasonable one.”

Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s recommendation



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of a sentencing range will ‘reflect a rough approximation of sentences that might achieve

§ 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

        Here, while the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence, the Guidelines unquestionably provide the most helpful benchmark. As this Court

knows, the government has charged a considerable number of persons with crimes based on the

January 6 riot. This includes hundreds of felonies and misdemeanors that will be subjected to

Guidelines analysis. In order to reflect Congress’s will – the same Congress that served as a

backdrop to this criminal incursion – the Guidelines will be a powerful driver of consistency and

fairness moving forward.

   V.        Sentencing Factors Under 18 U.S.C. § 3553(a)

        Sentencing is also guided by 18 U.S.C. § 3553(a), which identifies the factors a court must

consider in formulating the sentence. Some of those factors include: the nature and circumstances

of the offense, § 3553(a)(1); the history and characteristics of the defendant, id.; the need for the

sentence to reflect the seriousness of the offense and promote respect for the law, § 3553(a)(2)(A);

the need for the sentence to afford adequate deterrence, § 3553(a)(2)(B); and the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct. § 3553(a)(6). In this case, as described below, the Section 3553(a)

factors weigh in favor of incarceration.

             A. The Nature and Circumstances of the Offense

        1.      The attack on the U.S. Capitol, on January 6, 2021 is a criminal offense unparalleled

in American history. It represented a grave threat to our democratic norms; indeed, it was the one

of the only times in our history when the building was literally occupied by hostile participants.

By its very nature, the attack defies comparison to other events.



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       While each defendant should be sentenced based on their individual conduct, as we now

discuss, this Court should note that each person who entered the Capitol on January 6 without

authorization did so under the most extreme of circumstances. As they entered the Capitol, they

would, at a minimum, have crossed through numerous barriers and barricades and heard the throes

of a mob. Depending on the timing and location of their approach, they also may have observed

extensive fighting with law enforcement officials and smelled chemical irritants in the air. No

rioter was a mere tourist that day.

       Additionally, while looking at the defendant’s individual conduct, the Court must assess

such conduct on a spectrum. This Court, in determining a fair and just sentence on this spectrum,

should look to a number of critical factors, to include: (1) whether, when, and how the defendant

entered the Capitol building; (2) whether the defendant encouraged violence; (3) whether the

defendant encouraged property destruction; (4) the defendant’s reaction to acts of violence or

destruction; (5) whether the defendant encouraged others to join in the attack; (6) whether during

or after the riot, the defendant destroyed evidence; (7) the length of the defendant’s time inside of

the building, and exactly where the defendant traveled and what he did in those locations; (8) the

defendant’s statements in person or on social media; (9) the extent of the defendant’s planning

before the riot and his foreknowledge that it would involve violent conduct; (10) whether the

defendant cooperated with, or ignored, commands from law enforcement officials; and (11)

whether the defendant demonstrated sincere remorse or contrition. While these factors are not

exhaustive nor dispositive, they help to place each defendant on a spectrum as to their fair and just

punishment.

       To be clear, had the defendant personally engaged in violence or destruction, he would be

facing additional charges and/or penalties associated with that conduct. The absence of violent or



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destructive acts on the part of the defendant is therefore not a mitigating factor in misdemeanor

cases, nor does it meaningfully distinguish the defendant from most other misdemeanor

defendants.

       2.      By the time Evans crossed into the Capitol’s restricted grounds on January 6, he

had ample forewarning that he mob that descended on the Capitol would engage in violent,

criminal conduct. Three weeks earlier, on December 11 and 12, 2020, Evans had made a first trip

to Washington, D.C. to protest the outcome of the 2020 Presidential election. During that visit,

Evans made contact with members of the Proud Boys from multiple states. According to his

statements at the time, he also witnessed the Proud Boys battling other groups in violent

confrontations. In the following days, despite having first-hand knowledge of the Proud Boys’

violent tactics, Evans made repeated (but unsuccessful) attempts to join their ranks.

       Nor was Evans’s interest in the Proud Boys somehow limited to peaceful protesting. In an

email to a Texas Proud Boys representative, Evans specifically bragged – whether truthfully or not

– about fighting alongside the Proud Boys in the streets of Washington, D.C. on December 12,

2020. He claimed that he had been “in the thick of this” with several Proud Boys “all night until

2:30 am”; that “I got me some!”; and that “Chicago PB Paul and another PB were in the thick of

it with [Evans] twice.”36 Indeed, despite having been turned down by the Proud Boys, Evans

reaffirmed that he planned to travel to Washington, D.C. January “4th-7th or 8th” and that he

“look[ed] forward to meeting [the Proud Boys]” there.37 By then, Evans had also offered, in a

separate email thread, to assist the Proud Boys’ Atlanta chapter by supplying tactical gear for “one

of your righteous men.”38



       36
               Gov’t Ex. 2.
       37
               Gov’t Ex. 3.
       38
               Gov’t Ex. 4.
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       These facts are important because they show a substantial amount of preparation and

commitment by Evans. They also show, at a minimum, that, by the time he arrived at the Capitol

on January 6, Evans knew that the mob he was joining included elements who were likely to

engage in violent conduct.

       3.      The scene Evans encountered as he entered the Capitol building left no doubt that

he was joining a violent riot, not a peaceful protest. Evans did not enter the Capitol building

through a door. He came in through a shattered window that had been smashed in by other

protestors less than one hour earlier. While no police officers physically blocked Evans’s path as

he entered, the signs of violent entry and ongoing criminality were unmistakable. Broken glass

and other debris were still visible on the inside sill of the window. Immediately to his left, Evans

faced a line of U.S. Capitol Police officers blocking off one direction of the corridor, many of them

wearing riot helmets. To his right, he faced a damaged piece of furniture, seemingly turned on its

side, that obstructed part of the hall immediately in front of the Senate Wing Doors. A high-pitch,

continuous alarm could be heard, similar to a fire alarm.

       The mayhem did not cause Evans to reconsider. To the contrary, seconds after entering

the Capitol through the shattered window, Evans – who had come to the Capitol carrying a

megaphone, evidently intent on influencing other rioters – turned back to the rioters gathered

outside and said through his megaphone: “Bring ‘em in.” He then moved deeper into the Capitol

building, spending several minutes in the Crypt. When Evans turned back, he did not head for the

exit. He deliberately detoured into a Congressional conference room, which he had been told

(incorrectly) belonged to Speaker Pelosi. In that room, Evans climbed onto a window’s sill, looked

at the mob outside (which was facing a line of police officers), and gestured triumphantly toward




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the mob. He also boasted that he was “hang[ing] out” in (what he believed to be) Speaker Pelosi’s

office. And he took a victory shot of Fireball whiskey.

       These facts show that Evans broke into the Capitol with full appreciation that he was

joining the forcible takeover of a government institution.39 They also show that he incited others

to join in that takeover, encouraging other rioters to enter the building and giving instructions

through a megaphone. His theatrical celebration as he took in the sight of the mob outside –

combined with his celebratory drinking in a Congressional office space – further crystallizes

Evans’s true objective as he entered the Capitol on January 6, 2021.

            B. The History and Characteristics of the Defendant

       As set forth in the PSR, Evans’s criminal history is limited to a 1994 conviction for reckless

driving when he was 19 years old. Evans also reported to the U.S. Probation Office information

suggesting that he is active within his community, and that he has maintained a productive family

and professional life. Accepting Evans’s self-reported information as accurate,40 it does not

meaningfully mitigate Evans’s culpability in connection with January 6, 2021. In fact, it renders

his conduct on January 6, 2021 all the more troubling.

       In January 2021, Evans was a 46-year-old adult with strong ties to his family, to his

community, and to his church. Having witnessed, and possibly been involved in, the Proud Boys’

violent confrontations in the streets of Washington, D.C. on December 12, 2020, Evans had no



       39
                To be sure, while on Capitol grounds, Evans at times purported to remind other
rioters to abstain from further acts of violence and destruction of property. But, even assuming
those statements were sincere, the fact that Evans did not personally seek out violence and
destruction after the Capitol had been seized and the certification process halted does not diminish
his role as a participant in the mob that collectively took over the Capitol in the first place. In any
event, as noted above, had Evans personally engaged in violence or destruction, he would be facing
additional charges and penalties associated with that conduct.
       40
               Portions of Evans’ self-reported information do not appear to have been verified.
                                                      22
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excuse to seek out more lawbreaking on January 6. He cannot blame his poor judgment on lack

of maturity, on naivety about political demonstrations, or on social isolation during the COVID-

19 pandemic. Nor was Evans’s decision to follow the violence on January 6 a spur-of-the-moment

decision. Evans had weeks – not to mention a 1,500-plus-mile drive from Texas to Washington,

D.C. – to consider whether and how to join the January 6 protests if, as predictable, the

demonstrators turned on Congress and the Capitol grounds. Yet, despite all those opportunities

for better judgment and despite all his life experiences and networks, Evans settled on the illegal

choice: he wanted to be “in the thick of it” – just as he had bragged about being “in the thick of it”

only weeks earlier.

       Evans’s conduct was inexcusable.         The fact that he chose it despite his personal

accomplishments and despite his recent brush with street violence weeks earlier only makes

Evans’s conduct more egregious. It demonstrates a very real need to for specific deterrence in the

form of incarceration.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.”41 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21




       41
                Federal Bureau of Investigation Director Christopher Wray, Statement before the
House Oversight and Reform Committee (June 15, 2021), available at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20 Testimony.pdf.
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at 3 (“As to probation, I don’t think anyone should start off in these cases with any presumption

of probation. I think the presumption should be that these offenses were an attack on our

democracy and that jail time is usually – should be expected”) (statement of Judge Hogan).

              D. The Need for the Sentence to Afford Adequate Deterrence

       Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C); see United States v. Russell, 600 F.3d 631, 637 (D.C.

Cir. 2010).

       General Deterrence

       The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. For the violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing in United States v. Paul Hodgkins, 21-cr-188-RDM:

                 [D]emocracy requires the cooperation of the governed. When a mob
                 is prepared to attack the Capitol to prevent our elected officials from
                 both parties from performing their constitutional and statutory duty,
                 democracy is in trouble. The damage that [the defendant] and others
                 caused that day goes way beyond the several-hour delay in the
                 certification. It is a damage that will persist in this country for
                 decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.



                                                       24
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Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be deterred.”)

(statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can

be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”) (statement of Judge Moss). And it is important to convey to future potential

rioters – especially those who intend to improperly influence the democratic process – that their

actions will have consequences. There is possibly no greater factor that this Court must consider.

       Specific Deterrence

       Treniss Evans’s conduct since January 6 confirms the need for specific deterrence for this

defendant. As described in more detail above, despite occasionally professing remorse for his

conduct on January 6, Evans has repeatedly downplayed the violence that occurred on that day

and attempted to paint himself as a victim of government overreach. On October 17, 2021, for

example, Evans stated in a GETTR posting, “I am pretty sure most January 6th protestors were

protestors who made bad decisions to trespass in the Capitol largely because police were not even

telling them not to much less attempting to stop them.”42 This is flatly untrue as Evans well knows.

At approximately 3:00 p.m. on January 6, 2021, Evans climbed through a shattered window to

unlawfully enter the Capitol building and join a horde of rioters. He then incited rioters who stood

outside the Senate Wing Doors to break into the Capitol building (“Bring ‘em in”) – even as he



       42
               Gov’t Ex. 11.
                                                     25
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stood only feet away from a line of Capitol Police officers, many of them wearing riot helmets as

they were trying to block off one side of the corridor. He also ignored the alarm resonating through

the Capitol. Despite knowing all this, since January 2021, Evans has used his own presence at the

riot to spread false propaganda that January 6 was a largely “peaceful” protest.

       Evans’s recurrent attempts to paint himself and other January 6 defendants as victims are

also troubling. On February 13, 2022, he declared in a GETTR posting, “I am January 6th and

now a victim of a two tier justice system run by terrorists!”43 Weeks later, on March 10, 2022, the

same day he pleaded guilty in this case, Evans stated in reference to those involved in the January

6 attack, “We The People-CITIZENS are now the greatest victims of lawfare (this is called

tyranny) this Country has ever witnessed. Welcome to the Tyrannical States of America.”44 These

statements reveal a complete lack of genuine remorse, a conclusion that is further underscored by

Evans’s efforts to cash in on his participation in the attack.45 They also foreclose any suggestion

that Evans has learned from his mistakes and can be trusted to distinguish between peaceful

protesting and violent rioting in the future.

       Treniss Evans’s failure to learn from his mistakes is particularly concerning in light of his

continued penchant for glorifying political violence. On December 31, 2021, Evans celebrated the

arrival of 2022 as the year in which “WE THE PEOPLE TAK[E] AMERICA BACK COME

HELL OR HIGH WATER” – against the background of a red nuclear mushroom cloud. He

commented, “I feel this coming. I hope it is done peacefully” – an unmistakable message that the




       43
              Gov’t Ex. 18.
       44
              Gov’t Ex. 20.
       45
              See, e.g., Gov’t Ex. 12 (“YES I WAS AT THE CAPITOL JANUARY 6TH. I need
your help to continue to speak publicly.”); Gov’t Ex. 15 (“January 6th Political Speaker and
defendant!” post, with link to Evans’s crowd-funding page).
                                                    26
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“taking … back [of] America” may come not peacefully.46 Then, as another example, on February

25, 2022, he reposted a picture of an armed man sending a “MESSAGE FOR THE DEEP STATE”:

                BE ADVISED. THERE ARE 16 MILLION PLUS VETERANS IN
                THIS COUNTRY WHO ONCE THEY FIND OUT WHAT
                YOU’VE DONE ARE GONNA BE MORE THAN WILLING TO
                STACK BODIES AND SAVE CHILDREN[.] PRESIDENT
                TRUMP HAS AN ARMY THE SIZE OF WHICH HAS NEVER
                BEEN SEEN ON THE EARTH[.] THERE IS NOWHERE ON
                EARTH YOU CAN HIDE, SURRENDER WHILE YOU CAN.47

Evans commented: “I LOVE THIS! THE TIME FOR THE RIGHTS OF WE THE PEOPLE IS

COMING.” The fact that Evans continues to glorify political violence undermines any suggestion

that he has learned his lesson from his poor judgment on January 6. It also creates an unacceptable

risk that he will be willing to participate in violent rioting in the future.

             E. The Need to Avoid Unwarranted Sentencing Disparities

        1.      As the Court is aware, the government has charged hundreds of individuals for their

roles in this one-of-a-kind assault on the Capitol, ranging from unlawful entry misdemeanors, such

as in this case, to assault on law enforcement officers, to conspiracy to corruptly interfere with

Congress.48 Each offender must be sentenced based on his or her individual circumstances, but

with the backdrop of the January 6 riot in mind. Moreover, each offender’s case will exist on a

spectrum that ranges from conduct meriting a probationary sentence to crimes necessitating years

of imprisonment. The misdemeanor defendants will generally fall on the lower end of that

spectrum, but misdemeanor breaches of the Capitol on January 6, 2021 were not minor crimes. A




        46
                Gov’t Ex. 14.
        47
                Gov’t Ex. 20.
        48
                Attached to this supplemental sentencing memorandum is a table providing
additional information about the sentences imposed on other Capitol breach defendants. That table
also shows that the requested sentence here would not result in unwarranted sentencing disparities.

                                                       27
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probationary sentence should not necessarily become the default.49 As Judge Lamberth has

admonished, “I don’t want to create the impression that probation is the automatic outcome here

because it’s not going to be.” United States v. Anna Morgan-Lloyd, 1:21-cr-00164 (RCL), Tr.

6/23/2021 at 19; see also United States v. Valerie Ehrke, 1:21-cr-00097 (PLF), Tr. 9/17/2021 at

13 (“Judge Lamberth said something to the effect … ‘I don’t want to create the impression that

probation is the automatic outcome here, because it's not going to be.’ And I agree with that.

Judge Hogan said something similar.”) (statement of Judge Friedman).

       Although all the other defendants discussed below participated in the Capitol breach on

January 6, 2021, many salient differences – such as how a defendant entered the Capitol, whether

he incited others, what areas he reached inside the Capitol building, what he did in those areas, the

nature of any statements he made (on social media or otherwise) since January 6, 2021, etc. – help

explain the differing recommendations and sentences. And as that discussion illustrates, avoiding

unwarranted disparities requires the courts to consider not only a defendant’s “records” and

“conduct” but other relevant sentencing criteria, such as a defendant’s manifestation of genuine

remorse. See United States v. Hemphill, 514 F.3d 1350, 1365 (D.C. Cir. 2008) (no unwarranted

disparity regarding lower sentence of codefendant who pleaded guilty and cooperated with the

government).



       49
               Early in this investigation, the government made a very limited number of plea
offers in misdemeanor cases that included an agreement to recommend probation in United States
v. Anna Morgan-Lloyd, 1:21-cr-00164(RCL); United States v. Valerie Elaine Ehrke, 1:21-cr-
00097(PFF); United States v. Donna Sue Bissey, 1:21-cr-00165(TSC), United States v. Douglas
K. Wangler, 1:21-cr-00365(DLF), and United States v. Bruce J. Harrison, 1:21-cr-00365(DLF).
The government is abiding by its agreements in those cases, but has made no such agreement in
this case. Cf. United States v. Rosales-Gonzales, 801 F.3d 1177, 1183 (9th Cir. 2015) (no
unwarranted sentencing disparities under 18 U.S.C. § 3553(a)(6) between defendants who plead
guilty under a “fast-track” program and those who do not given the “benefits gained by the
government when defendants plead guilty early in criminal proceedings”) (citation omitted).


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       Moreover, assessing disparities, and whether they are unwarranted, requires a sufficient

pool of comparators. In considering disparity, a judge cannot “consider all of the sentences not

yet imposed.” United States v. Godines, 433 F.3d 68, 69-71 (D.C. Cir. 2006). “The most a judge

can do is consider those other sentences that do exist,” and “[t]he comparable sentences will be

much smaller in the early days of any sentencing regime than in the later.” Id.; see generally

United States v. Accardi, 669 F.3d 340, 346 (D.C. Cir. 2012) (“Without more, two allegedly similar

cases constitute too small a sample size to support a finding of an ‘unwarranted disparity’ in

sentences.”). In cases, like this one, for which the Sentencing Guidelines apply, “[t]he best way

to curtail ‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar

offenses and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009).

See id. (“A sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”).

       Sentencing courts are permitted to consider sentences imposed on co-defendants in

assessing disparity. E.g., United States v. Knight, 824 F.3d 1105, 1111 (D.C. Cir. 2016); United

States v. Mejia, 597 F.3d 1329, 1343-1344 (D.C. Cir. 2010); United States v. Bras, 483 F.3d 103,

114 (D.C. Cir. 2007). The Capitol breach was sui generis: a mass crime with significant

distinguishing features, including the historic assault on the seat of legislative branch of federal

government, the vast size of the mob, the goal of impeding if not preventing the peaceful transfer

of Presidential power, the use of violence by a substantial number of rioters against law

enforcement officials, and large number of victims. Thus, even though many of the defendants

were not charged as conspirators or as codefendants, the sentences handed down for Capitol breach

offenses are an appropriate group for purposes of measuring disparity of any future sentence.

       2.      While no previously sentenced case contains the same balance of aggravating and

mitigating factors present here, the Court may consider, for reference, the sentence of Annie



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Howell, who, like Evans, pleaded guilty to violating 18 U.S.C. § 1752(a)(1). See United States v.

Howell, No. 21-cr-217 (TGH). Howell was sentenced to 60 days of intermittent confinement, in

spite of mitigating health and family circumstances, in a case in which the aggravating factors

included pre-riot attempts to meet with the Proud Boys; awareness of the high risk of potential

violence at the Capitol; climbing through a broken window to enter the Capitol building; and

making statements on social media during and after the riot that displayed a lack of genuine

remorse and openness to future violence. See Howell 2/2/2022 Tr. 27-36; Howell Gov’t Sent.

Memo. (Doc. 35), at 2, 8, 23.

       In addition, this Court may consider cases involving defendants who entered sensitive

places within the Capitol. A defendant’s entry into a sensitive space puts that defendant in a more

serious category of offenders than defendants who remained in hallways or central, more public

spaces. Indeed, one of the most infamous photographs form January 6 is that of a rioter in Speaker

Pelosi’s office, with his feet on her desk. That photograph has become notorious, in all likelihood,

precisely because of what invading the workspace of Members of Congress and their staffers

represents: a show of intimidation and an attempted display of power, above and beyond entering

the building. For good reason, judges of this Court have repeatedly imposed terms of incarceration

in cases involving defendants who invaded the workspaces of Members of Congress and their

staffers. See, e.g., United States v. Derek Jancart and Erik Rau, Nos. 21-cr-148 (JEB), 21-cr-467

(JEB) (sentencing to 45 days of incarceration misdemeanor defendants who had reached the

Speaker’s conference room); United States v. Courtright, No. 21-cr-72 (CRC) (sentencing to 30

days of incarceration a misdemeanor defendant who reached the Senate Floor, even though she

does not appear to have known where she was); United States v. Andrew Ericson, No. 21-cr-506

(TNM) (sentencing to 20 days of intermittent confinement a misdemeanor defendant who entered



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the Speaker’s conference room and posted a photo of himself with his feet on the conference table

and took a beer from the fridge); United States v. James Bonet, No. 21-cr-121 (EGS) (sentencing

to 90 days of incarceration misdemeanor defendant who smoked what appeared to be marijuana

in a Senator’s private office, broadcast it triumphantly on social media, and later downplayed the

January 6 attack in a news interview).       Here, Evans deliberately entered a Congressional

conference room (which he incorrectly believed to be Speaker Pelosi’s), climbed on a window’s

inside sill to gesture triumphantly to the mob outside, and took a celebratory shot of whiskey,

which another rioter recorded on video.       Evans, too, should receive a reasonable term of

imprisonment as part of his sentence.

       Finally, this Court may consider the sentences imposed on defendants who have used their

participation in the January 6 attack for fundraising and establishing a social media presence. See,

e.g., United States v. Eduardo Gonzalez, No. 21-cr-115 (CRC) (sentencing to 45 days of

incarceration a misdemeanor defendant who exploited his participation in the January 6 attack to

develop a social media presence and business interests); United States v. Jennifer Leigh Ryan, No.

21-cr-50 (CRC) (sentencing to 30 days of incarceration a misdemeanor defendant who glorified

the January 6, 2021 attack in media postings, spread false information about the attack, and sought

to exploit her presence during the attack for profit). Similarly, Evans has aggressively exploited

his presence at the Capitol during the January 6 attack to expand his social media presence on

GETTR; to increase traffic on this website (www.condemnedusa.com); and to give interviews and

public speeches about January 6.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d



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220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.

Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will sentence

differently – differently from the Sentencing Guidelines range, differently from the sentence an

appellate court might have imposed, and differently from how other district courts might have

sentenced that defendant.” Id. at 1095.

   VI.      Conclusion

         Sentencing requires the Court to consider the Guidelines and carefully balance the

§ 3553(a) factors. Based on those considerations, the government recommends that this Court

sentence Treniss Evans to 60 days’ incarceration; one year of supervised release; 60 hours of

community service; and $500 in restitution. Such a sentence protects the community, promotes

respect for the law, and deters future crime, but is no longer than necessary.

May 16, 2022                          Respectfully submitted,

                                      MATTHEW M. GRAVES
                                      UNITED STATES ATTORNEY
                                      D.C. Bar No. 481052

                              By:     /s/ Francesco Valentini
                                      Francesco Valentini
                                      D.C. Bar No. 986769
                                      Trial Attorney
                                      United States Department of Justice, Criminal Division
                                      Detailed to the D.C. United States Attorney’s Office
                                      601 D Street NW
                                      Washington, D.C. 20530
                                      (202) 598-2337
                                      francesco.valentini@usdoj.gov




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